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! 27 HAYNES ST APT 1
; Worcester, County of WORCESTER, MA01603

Exhibit 8

? CREDITOR (SELLER NAME AND ADDRESS)
i: HARR TOYOTA, INC.

? 100 GOLD STAR BOULEVARD

: WORCESTER, MA 01606

Meaning of Words. In this contract, the words “you,” “your” and “yours" refer io the Buyer and Co-Buyer, if any. The word “Creditor” refers to the Creditor
(Seller) named above and, after assignmeni, to Toyota Motor Credit Corporation (“TMCC”) and any subsequent assignee.

Who is Bound. You may buy the vehicle described below for cash or on credit. The cash price is shown on page two as “Cash Price.” The credit price is
shown below as “Total Sale Price.” By signing this contract, you choose to buy the vehicle on credit under the terms on all pages of this contract and you

are individually liable to the Creditor for any amount due.

Description of Vehicle. You agree to buy and the Creditor agrees io sell you the following motor vehicle, the “Vehicle”:

ot Vehicle -..0.-.

«,, «+ Odometer Mileage -...
i 14287

.. . Primary Purpose
ii Personal

2

ANNUAL PERCENTAGE RATE | FINANCE CHARGE | Amount Financed | Total of Payments Total Sale Price
The cost of your credit as a The dollar amount the — The amount of credit | The amount you will The total cost of your purchase
yearly rate. credit will cost you. provided fo you or on | have paid after you have | on credit, including your
your behalf. made all payments as —_ | downpayment of
scheduled. 5 0.00 is
4.43 % ES 4,570.76 $ 27,369.40 $ 31,940.16 S 31,940.16

fF Your Payment Schedule Will Be:

Number of Payments: Amount of Each Payment: When Payments Are Due:
One Deferred Downpayment of $NIA N/A
—84 __ Regular Payments of $380.24 Monthly, beginning 03/13/2021
One Final Paymeni of SN/A N/A

Late Charge: If a payment is not paid in full within 15 days after it is due, you will pay a late charge of 5% of the unpaid amount of the laie payment
or $5.00, whichever is less.

Prepayment. If you pay off all of your debt early, you will not have to pay a penalty.

Security. You are giving a security interest in the Vehicle being purchased.

Other Terms. Please read all pages of this contract for additional information about security interests, nonpayment, default, any required

j= repayment in full before the scheduled date, and penalties.
THE INSURANCE, IF ANY, REFERRED TO IN THIS CONTRACT DOES NOT INCLUDE LIABILITY INSURANCE COVERAGE
FOR BODILY INJURY AND PROPERTY DAMAGE CAUSED TO OTHERS. os

THE ANNUAL PERCENTAGE RATE MAY BE NEGOTIATED WITH THE DEALER.

THE DEALER MAY ASSIGN THIS CONTRACT AND RETAIN ITS RIGHT
TO RECEIVE A PART OF THE FINANCE CHARGE.

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A,

2. Downpaymeni

Cash Price (including any accessories, services and taxes)

A. Gross Trade-in Value Does 1900.00
B. Payoff of Existing Lien or Lease Balance on Trade-in Vehicle $._._..11,936.71
C. Net Trade-in Vaiue (A - B) (indicate if negative number) S$, -4,936.71
D. Remaining Cash Downpayment (including Deferred Downpayment of $ N/A payable
before the due date of the first regularly scheduled payment) $ N/A
£. Rebates and Non-Cash Incentives 0.00
F. Subtotal (C + D +E) $........74,936.71
:;  G, TOTAL DOWNPAYMENT (if Subtotal is negative, Total Downpayment is $0.00) * $0.00: i
3. Unpaid Balance of Cash Price (1 minus 2) §__ 18,653.69 45) |
4. A. Amounts Paid to Others on Your Behalf (the Creditor may retain or receive a portion of these amounts):
(i) Price of Required Physical Damage Insurance Purchased from the Insurance Company Named Below —
Covering Damage io the Vehicle $ N/A
(ii) Price of Optional Credit Insurance Purchased from the Insurance Company or Companies Named Below
Life $ N/A_ Disability, Accident and Health $ N/A Bocce N/A
(ili) Price of Optional Mechanical Breakdown Protection or Service Contract Purchased from the Creditor -
Covering Certain Mechanical Repairs Boe 1,996.00
{iv) Price of Optional Debt Cancellation Coverage or Guaranteed Auto Protection ("GAP") Purchased
from the GAP Provider Named Below — Covering a Waiver of Deficiency upon Total Loss of Vehicle Boonccccsoe 1,050.00
(v) Other Charges (Creditor must identify who will receive payment and describe purpose)
To DCU , For Prior Credit or Lease Balance | $ 4,936.71
To HARR . For DOCUMENT FEE . $ 598.00
TO ARR .scesscscssesnceceseetetnesnntnsnnsnesneeneee FOF INSPECTION. .ccscsactsessensenesetneustnee Soaceceeeeee 35,00
To N/A For N/A $ NIA
To N/A For N/A $ N/A
TO NVA ccccscssstecsesscssssccsesesssnsntesteeetaneecene FOP NIA a csscesscesescseeeneeecsneetnseesesetnnceeneesnesie Boo cecesceensee N/A
TO NVA ecessecssceceestneestcttnsnetntsenenasinenannenei FOP NAc ccsseseesseestentnetnetnenentnntneeesssee acs cscenesenbosn N/A
To N/A For N/A $ N/A
TO NIA ccsscsssesssnttntnetntnsetinnntntnntntne FOP NUA i cccccosssssensentnssseintstntssintnenenanenaen Baccssessine NIA
TO NVA cc ccccsesessseensttensneniesenastnesientee FOPNVA cc ccccccssseesesssennsssesessansenencensnnseenensesen Bo cecsseeeeen N/A
B. Other Amounts Paid tc Others on Your Behalf
{i} Official Fees Paid to Public Officials g N/A
(ii) Taxes Paid to Government Agencies (Not Included in Cash Price) Boi cccccetee N/A
(iii) Government License Fees Sooeccccseee WA
(iv) Government Registration Fees $ 25.00
{v) Government Certificate of Title Fees Bocce 75.00 :
Total Oiher Charges and Amounts Paid to Others on Your Behalf Se LIST)
is Amount Financed — Unpaid Balance (3+4) 9B Li389.4015) 5) |
Page 2 of 6 . 3103MA (12/20/17)

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: GAP Provider TMIS

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: Physical damage insurance is required, but you may provide the required insurance coverage through an existing policy of insurance :
: owned or controlled by you or through anyone you want who is reasonably acceptable to the Creditor. If you buy it through the Creditor and are i
: accepted by the insurance company, the policies or certificates issued by the insurance company will describe the ierms and conditions. The purchase :
i price of this insurance is shown in 4A(i) of the Itemization Section, i

months :

Insurance Company N/A Term: N/A
O $ N/A Deductible Collision AND

: Optional Credit Insurance. YOU CANNOT BE DENIED CREDIT SIMPLY BECAUSE YOU CHOOSE NOT TO BUY CREDIT INSURANCE. CREDIT i
: LIFE INSURANCE AND CREDIT ACCIDENT AND HEALTH INSURANCE ARE NOT REQUIRED TO OBTAIN CREDIT. INSURANCE WILL NOT :
; BE PROVIDED UNLESS YOU SIGN AND AGREE TO PAY THE ADDITIONAL CHARGE. The purchase price is shown below and in 4A(ii) of the :
: Itemization Section. :
: 1 Credit Life - C1 Single Coverage (Buyer Only) 1 Joint Coverage Term (Months) N/A Premium $ N/A

! | want the specified credit life coverage.

Date

Term (Monihs) N/A Premium $ N/A

i lf you elect optional credit insurance coverage and are accepted by the insurance company, the terms and conditions will be as described :
:in the policies or certificates issued by the insurance company. The original amount of the decreasing term credit life insurance will not exceed i

is N/A . Credit disability insurance payments will equal the monthly payment amount but will not be more than $. NA . i

: Optional Mechanical Breakdown Protection (“MBP”): Mechanical breakdown protection is not required to obtain credit and you may i
: purchase it from anyone you want who is reasonably acceptable to the Creditor. You may purchase MBP under this contract by signing below :
: and agreeing to pay the purchase price which is shown in 4{(iii) of the Itemization above. j
: The terms of this protection are provided in the separate contract describing the protection. If you purchase this protection, you have reviewed the terms :
: of the contract which describes this protection and you understand that a copy of your completed contract will be sent to you by the MBP company.

MBP Company PABLO CREEK SVCS, INC $ 100.00 Deductible

APPROVAL: YOU WANT TO OBTAIN THE OPTIONAL MECHANICAL BREAKDOWN PROTECTION.

N/A

: Optional Debt Cancellation Contract or Guaranteed Auto Protection (“GAP”). GAP is not required to obtain credit and you may purchase it from :
; anyone you want who is reasonably acceptable to the Creditor. You may purchase GAP under this contract by signing below and agreeing to pay the :
; purchase price to the Creditor, which is shown in 4A(iv) of the Itemization Section. If you elect this optional GAP coverage and are accepted by the :
: GAP provider, the terms and conditions will be as described in the GAP agreemeni issued by thal provider. i

APPROVAL: YOU WANT TO OBTAIN THE GUARANTEED AUTO PROTECTION DESCRIBED ABOVE,

N/A

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4. Payments Before or After Scheduled Due Date. This is a simple interest
contract. This means {hat the amount of the Finance Charge may vary. The
Finance Charge and Total of Payments shown on page one of the contract
are based on the assumption that all payments are made when due. The
Creditor credits each payment first to accrued Finance Charge, then to the
unpaid balance of the Amount Financed and the remainder to unpaid charges.
The Creditor computes your Finance Charge each day on the unpaid balance
of the Amount Financed. The earlier you make payments before their due
dates, the less Finance Charge you will owe. The Creditor will send you a
check for any amount owed to you after your last payment. The later you make
payments after they are due, the greater the Finance Charge. The Creditor will
advise you of at additional amount you owe at the end of the contract term.
You understand that payment of any installment after it is due will be a default
on your part as stated below.

2. Ownership, Location and Risk of Loss. You agree to pay the Creditor
all you owe under this contract even if the vehicle is damaged, destroyed or
missing. You agree not to sell, transfer, rent, lease or remove the vehicle from
the stale in which you reside on the date of this contract without the prior written
permission of the Creditor. The vehicle will be kept at the address you specify
in this contract unless another address is provided to the Creditor in writing.
You will notify the Creditor in writing of any change in your address where the
vehicle is regularly located. Under no circumstances will you be permitted to
remove the vehicle from the United States, except to Canada and then only for
a period of 30 days or less. You are to keep the vehicle properly maintained.
You agree not to expase the vehicle te misuse or confiscation, forfeiture or
other involuntary transfer regardless of whether the vehicle becomes the
subject of formal judicial or administrative proceedings. You will make sure the
Creditor's security interest (lien) on the vehicle is shown on the title.

3. Taxes and Other Charges. You are responsible for and will pay when due
al taxes, repair bills, storage bills, fines, assessments and other charges in
connection with the vehicle. If you fail to pay these amounts the Creditor may
do so for you. If the Creditor does so, you ae to repay the amount when the
Creditor asks for it. You agree to comply with all registration, licensing, tax and
title laws applicable to the vehicle.
4, Security Interest. You hereby crant the Creditor a securily inarest in: (1) ihe
vehicle being purchased, any accesscries and equipment then installed in the
vehicle, any accessions installed in or affixed to the vehicle and any replacement
pars installed in the vehicle: (2) insurance premiums, and charges for mechanical
reakdown protection, quaranteed auto protection contracts or other optional
produds returned to the Creditor; (3} proceeds of any insurance policies,
mechanical breakdown protection, guaranteed auto protection contracts or other
optional products on the vehicle, and “) proceeds of any insurance policies on
your life or health which are financed in this coniract. This secures payment of all
amounts you owein this contract and in any transfer, renewal, extension, refinancing
or assignment of this contract. It also secures your other agreements in
this contract.
5. Required Physical Damage Insurance. You agree to have physical
damage insurance covering loss or damage to the vehicle for the term of this
contract. The. physical damage insurance must name the Creditor as loss
payee and must require 10 days advance written notice to the Creditor before
any cancellation or reduction in the insurance coverage. You agree to deliver
promptly to the Creditor whatever written proof of insurance coverage the
Creditor may reasonably request. At any time ea a term of this contract,
if you do not have physical damage insurance which covers both the interest
of you and the Creditor in the vehicle, then the Creditor may buy it for you.
if the Creditor does not buy physical damage insurance which covers both
interests in the vehicle, it may, if it decides, buy insurance which covers only
the Creditor's interest.
The Creditor is under no obligation io buy any insurance, but may do so if it
desires. If the Creditor buys either of these coverages, i will lel you know what
type it is and the charge you must pay. The charge will consist of the cost of
the insurance with a finance charge at the Annual Percentage Rate applicable
to this contract or, if that rate is not authorized, the highest lawful contract rate.
You agree to pay the charge in equal installments along with the payments
shown on the payment schedule.
if the vehicle is lost or damaged, you agree that the Creditor can use any
insurance settlement either to repair the vehicle or to apply to your debt.
6. Late Charge. If any payment is not paid in full within 15 days aiter itis due,
you agree to pay a lale charge of 5% of the unpaid amount of the late payment
or $5.00, whichever is less. Acceptance of a late payment or late charge does
not excuse your late payment or mean that you can keep making payments
after they are due. The Creditor may also take the steps set forth below if there
is any late payment.

Page 4 of 6

7. Optional Insurance or Optional Contracts, This contract may contain
charges for optional insurance, mechanical breakdown pias guaranteed

auto protection contracts or other optional products. If you default in your
obligations under this contract, you agree that the Creditor may claim benefits
under these contracts and terminate them to obtain refunds for unearned charges.

8. Insurance or Optional Contract Charges Returned to Creditor. If any
charge for required insurance is returned to the Creditor, it be credited to
the maturing installments of your account or used to buy similar insurance or
insurance which covers only the Creditor's interest in the vehicle. Any refund
on optional insurance, mechanical breakdown protection, guaranteed auto
protection contracts or other optional products obtained by the Creditor will
be credited to your account, These credits will be applied to as many of your
installments as they will cover, beginning with the finat installment.

9, Default and Right to Cure. You will be in default under this contract if you
fail to pay any payment according to the payment schedule or if any event
occurs which substantially impairs the value of the vehicle. if you default under
this contract you will have the right to cure your default in the manner and to
the extent specified in the Massachusetts General Laws Annotated. Timel
exercise of a right to cure will restore your rights under this contract as thoug
no default had occurred.

40. Required Repayment in Full Before the Scheduled Date. Subject to your
tight to cure in the manner and to the exient specified in the Massachusetts
General Laws Annotated, if you are in default. the Creditor can accelerate
ue payments under this coniract and demand that you pay all that you owe
at once.

11. Repossession of the Vehicle for Failure to Pay. Subject to your right to
cure in the manner and to the extent specified in the Massachusetts General
Laws Annotated, the Creditor can take the vehicle irom you (repossession)
if you default under this contract. Unless the vehicle is purchased primarily
for personal, family or household use, the Creditor can, in order to take the
vehicle, enter your property, or the properly where itis stored, so long as it is
done peacefully and lawfully. If the vehicle is purchased primarily for personal,
family or household use, the Creditor may not enter property owned or rented
by you in order fo repossess unless you consent at that tme or unless the
Creditor’s night to repossess has been determined by a court. If there is
any personal properly in the vehicle, such as clothing, the Creditor can store it
for you. Any accessories, equipment or replacement parts will remain
with the vehicle.

12. Getting the Vehicle Back After Repossession. [i the Creditor
repossesses the vehicle, you have the right to get it back (redeem) by paying
the net amount then due under this contract, including any late charges and
the actual and reasonable out of pocket expenses of taking, storing and
reconditioning the vehicle. If the Creditor has given you notice that it intends to
require full payment and notifies you that full payment is required you will have
{o pay the nef amount you owe on the contract (not just past due payments).
Your right to redeem will end when the vehicle is sold or when the Creditor
enters into a contract for its disposition, whichever occurs first.

13. Sale of the Repossessed Vehicle. The Creditor will send you a written
notice of sale at least 20 days before selling the vehicle. If you do not redeem
the vehicle by the date on the notice, the Creditor can sell it. The Creditor will
use the nei proceeds of the sale io pay al! or part of your debt.

To the extent permitted by law, the net proceeds of sale will be figured this way:
Any reasonable possession and storage costs and, if the vehicle is purchased
primarily for business or agricultural use, any late charges, any charges for
cleaning, advertising, and selling the vehicle, and any reasonable attorney's
fees and court costs will be subtracted from the selling price.

If you owe the Creditor less than the net proceeds oi sale, the difference
is owed you unless the Creditor is required to pay it to someone else. For
example, the Creditor may be required to pay a lender who has given you a
loan and also taken a security interest in the vehicle.

If you owe mare than the net proceeds of sale, and the vehicle is purchased
paimarly for personal. ey or household use, you will pay ihe difference
etween the fair market value of the vehicle and what you owe when the
Creditor asks for it, unless the unpaid balance on the date of default is $2,000
or less. However, if you owe more than the net proceeds of sale and the
vehicle is purchased primarily for business or agricultural use, you will pay the
Creditor the difference between the net proceeds of sale and what you owe
when the Creditor asks for it. ff you do not pay this amount when asked, you
may also be charged interest at the Annual Percentage Rate applicable to this
contract, not to exceed the highest fawful rate, until you do pay all you owe.

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14. Collection Costs. You agree to pay the Creditor a check collection charge
not to exceed $19 in addition to any amount charged by the financial institution
for each check, draft or other form of payment which is returned or dishonored

for any reason.

15. Credit Information. You hereby authorize the Creditor to neste your
creditworthiness and credit capacity in connection with the establishment,
maintenance and collection of your account and to furnish information
concerning your account, including insurance information, to credit reporting
agencies and others who may lawlully receive such information.

16. Delay in Enforcing Rights and Changes in this Contract. The Creditor
can delay or refrain from enforcing any of ifs rights under this contract without
losing them. For example, the Creditor can extend the time for making some
payments without extending others. Any change in the terms of this contract
must be in writing and signed by the Creditor. No oral changes are binding.
if any part of this contract is not valid, all other parts will remain enforceable.

17. Interest after Maturity. If there is a balance due when this contract matures,
you agree to pay interest al the Annual Percentage Rate applicable to this
contract, or if that rate is not authorized, the highest lawful rate.

18. Warranties Seller Disclaims. You understand that the Seller is not offerin
any express warranties unless: (i) the Seller extends a written warranty; or (i
the window form for a used or demonstration vehicle indicates that the Seller
is giving express warranties.

In addition, there are no implied warranties of merchantability

or fitness for a particular purpose or any other implied
warranties by the Seller covering the vehicle unless: (i) it

is obtained primarily for personal, family or household -

use; (ii) the Seller extends a written warranty; (iii) within 90
days from the date of this contract, you enter into a service
contract with the Seller which applies to the motor vehicle
being purchased; or (iv) the window form for a used or
demonstration vehicle states that the Seller is giving implied
warranties. To the extent permitted by applicable law, the
Seller shall have no responsibility to you or to any other
person with respect to any interruption of service, loss of
usiness or anticipated profit or consequential damages.

Be eae

An implied warranty of merchantability generally means that the vehicle is fit
for the ordinary purpose for which such vehicles are generally used. A warranty
of fitness for a particular purpose is a warranty thal may arise when the Seller
has reason to know the particular purpose for which you require the vehicle
and you rely on the Seller's skill or judgment to furnish a suitable vehicle.

This provision does not affect any warranties covering the vehicle which may
be provided by the vehicle manufacturer.

19. Governing Law. This contract will be governed by the laws of the
Commonwealth of Massachusetts.

20. Used and Demonstration Car Buyer's Guide. The Information you see
on the window form for this vehicle is part of this contract. Information
on the window form overrides any contrary provisions in this contract of
ale The preceding NOTICE applies only to 2 used or demonstration vehicte
sale,

Guia Para Compradores de Vehiculos Usados o Demostraciones. La
Infermacién que ve en el formulario de la ventanilla para este vehiculo
forma parte del presente contrato. La Informacién del formutario de fa
ventanilla deja sin efecto todas las disposiciones en contrario contenida
en el contrato de venta. El AVISO anterior se aplica solamente a la venta de
vehicule usado o demostracién.

21. Electronic Contracting and Signature Acknowledgement. You agree
that (i) this contraci is an electronic contract executed by you using your
electronic signature, (ii) your electronic signature signifies your intent to
enter into this contract and that this contract be legally valid and enforceable
in accordance with its terms to the same extent as if you had executed this
contract using your written Signature and (iii) the authoritative copy of this
contract (“Authoritative Copy") shall be that electronic copy that resides
in a document management system designated by us jor fhe spraie Gi
authoritative copies of electronic records, which shall be deemed held by
us in the ordinary course of business. Notwithstanding the foregoing, if the
Authoritative Copy is converted by printing @ paper copy which is marked by
us as the original {the “Paper Contract’), then you acknowledge and agree
that (1) your signing of this contract with your electronic signature also
constitutes issuance and delivery of such Paper Contract, (2) your electronic
signature associated with this contract, when affixed to the Paper Contract,
conslitutes your legally valid and binding eae on the Paper Contract and
3} subsequent ta such conversion, your obligations will be evidenced by the
‘aper Contract alone.

NOTICE: ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES
WHICH THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT
HERETO OR WITH THE PROCEEDS HEREOF, RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED

AMOUNTS PAID BY THE DEBTOR HEREUNDER.

The preceding NOTICE applies only to goods or services obtained primarily for personal, family, or household
use. in all other cases, you will not assert against any subsequent holder or assignee of this contract any
claims or defenses you (debtor) may have against the Selfer, or against the manufacturer of the vehicle or

equipment obtained under this contract.

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Receipt of Goods and Promise to Pay. You agree that you have received the vehicle and/or services described above, and have accepted delivery of the vehicle
in good condition. You promise to pay to the Creditor the Total Sale Price shown above by making the Total Downpayment and paying the Creditor the Total of
Payments in accordance with the Payment Schedule shown on page one and all other amounts due under this contract.

IMPORTANT: THE TERMS AND CONDITIONS ON ALL PAGES OF THIS DOCUMENT ARE PART OF THIS CONTRACT. READ THESE TERMS AND
CONDITIONS BEFORE SIGNING BELOW.

: ifthere is 2 balance due when this contract matures, interest on the unpaid balance will accrue at the following rate uniil paid in full: 4.43 %

NOTICE TO THE BUYER: 1. Do not sign this contract if any of the spaces intended for the agreed terms, to the extent of then
available information, are left blank. 2. You are entitled to an exact copy of the contract you signed. 3. Under the law, you have
the following rights, among others: (a) to pay off in advance the full amount due and to obtain a partial refund of the Finance
Charge; (b) to redeem the property if repossessed for a default; (c) to require, under certain circumstances, a resale of the

property if repossessed.

You signed this contract and received a completely filled in copy.

Name: HARR TOYOTA, INC.

SELLER'S ASSIGNMENT
Seller sells and assigns to Toyota Motor Credit Corporation (“TMCC’) all of its rights, title and interest in this Contract in accordance with the terms of the Retail

Sales Financing Agreement between Seller and TMCC.

Toyota Financial Services is a service

mark af Toyota Motar Credit Corocration. Page 6 of 6 3103MA (42/20/17)

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